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                    UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF FLORIDA
                        TALLAHASSEE DIVISION

TABITHA WHITE,                               CIVIL ACTION

         Plaintiff,                          Case No.
v.

UNITED STATES OF AMERICA and
OFFICER JIMMY HIGHSMITH,

         Defendants.


                COMPLAINT AND DEMAND FOR JURY TRIAL

     Plaintiff sues Defendants and alleges as follows:

                                      Jurisdiction

1.      This Court has jurisdiction of this action under 28 U.S.C. §§1331 and 1346

        and Bivens v. Six Unknown Named Agents of Federal Bureau of Narcotics,

        403 U.S. 388 (1972) and 28 U.S.C. §2671, et. seq., Federal Tort Claims Act.

2.      Plaintiff filed a claim under the Federal Tort Claims Act March 7, 2014,

        (attached as Exhibit A), which claim was responded to without action

        September 28, 2016 (attached as Exhibit B).

3.      Plaintiff has exhausted her administrative remedies and obtained the relief

        that the administrative remedies could afford.

4.      Plaintiff has otherwise performed all acts precedent to bringing this suit or

        such acts have been waived.
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                                     Parties

5.   At all times material hereto, Plaintiff TABITHA WHITE was a federal

     prisoner confined in FCI Tallahassee, in Tallahassee, Florida, which facility

     is within the Northern District of Florida.

6.   At all times material hereto, Defendant JIMMY HIGHSMITH was a

     correctional officer at FCI Tallahassee, which facility is within the Northern

     District of Florida. Defendant Highsmith acted within the course and scope

     of his employment and under color of law.

7.   At all times material hereto, Defendant UNITED STATES OF AMERICA

     owned and operated a corrections facility known as FCI Tallahassee and

     were the employers of Defendant J. HIGHSMITH.

                         Common Allegations of Fact

8.   During the year 2014, Plaintiff TABITHA WHITE was an inmate at FCI

     Tallahassee, a federal corrections facility, and was under the care and

     custody of that facility, and was a person to whom Defendants owed a duty

     of care.

9.   During 2014, Defendant Jimmy Highsmith was a corrections officer at FCI

     Tallahassee with duties that involved the care and custody of Tabitha White.
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10. Empowered by his position and abetted by other prison officials, Highsmith

    took the opportunity to have sexual intercourse with Ms. White on at least

    three occasions between March and May of 2014.

11. Highsmith had a practice of propositioning female inmates at FCI.

12. Highsmith used FCI resources to target women that he knew had a history of

    resignation due to long sexual abuse and exploitation.

13. Sometime in March, Highsmith saw White with contraband jewelry.

14. Highsmith then propositioned White, pointing out that he could write her up.

15. Inmates who are “written up” face discipline which could include being put

    in the Special Housing Unit (SHU) or increasing time to be served.

16. Prisoners at FCI Tallahassee uniformly fear the SHU because of the history

    of abusive treatment and deprivation in that housing unit.

17. In the course of his abuse of Tabitha White, Highsmith made clear to her

    that he had the power to make her life in prison more difficult if she failed to

    cooperate or if she reported the abuse.

18. White was led to believe she could get years added to her sentence if she

    reported Highsmith’s misconduct to prison officials.

19. By reason of her status as a prisoner, Ms. White was unable to resist this

    predatory behavior and was initially afraid to report it for fear of retaliation.
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20. At one point Highsmith sent a message to White that she had mail and when

    she came for it, he was waiting for her and sexually abused her.

21. On May 14, 2014, after lights out, Highsmith came to White’s housing area.

22. Highsmith found White and instructed her to come to the housing office.

23. Other inmates in the unit noticed what they felt was strange behavior.

24. Several inmates went to the office door and some looked through a window.

25. Inmates saw Highsmith having sex with White.

26. Someone yelled, “she’s fucking him.”

27. About that time, a phone rang in the office.

28. On information and belief, officers in the control room who were monitoring

    the video cameras called to warn Highsmith.

29. On information and belief, prison officials at FCI Tallahassee were aware of

    Highsmith’s sexual predations and enabled and covered for them.

30. Highsmith was able to escape from the housing unit without being caught.

31. As Highsmith was leaving, he told White, “don’t worry about it.”

32. On May 15, 2014, the morning after the incident, an inmate was instructed

    to scrub all the surfaces in the housing office with disinfectant cleaner.

33. Around the same time, Lt. Singletary interviewed White about the incident.

34. Since there had been witnesses, White felt there was no further need to

    remain silent and she came forward with the evidence of abuse.
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35. White was taken to Tallahassee Memorial Hospital but Highsmith had worn

    a condom and there had been no DNA evidence to test except what had

    already been erased by the cleaning detail in the housing office.

36. Prison officials had video and still shots of the area where the sexual abuse

    took place and showed them to White during her interviews.

37. White testified to prison officials that Highsmith had sexually abused her,

    however at that time, she did not realize how she had been targeted by him.

38. Nevertheless, White fully expected Highsmith to suffer consequences.

39. White was informed that Highsmith would not be prosecuted.

40. White vigorously protested the failure to properly investigate, preserve

    available evidence, interview known witnesses and prosecute Highsmith.

41. The acts of the Defendant Highsmith violated Plaintiff’s constitutional

    rights, were wrongful as a matter of both federal and Florida law and

    without justification under any applicable federal statute or rule.

42. Defendant Highsmith was acting within the course and scope of his

    employment and under color of law at the time of the wrongful acts.

43. FCI Tallahassee had an informal policy of turning a blind eye to abuse.

44. FCI officials enabled and abetted Highsmith in his sexual predation.

45. FCI officials failed to implement PREA regulations as of May 2014.
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46. On March 7, 2014, Plaintiff served her claim in writing to the Federal

    Bureau of Prisons, U.S. Department of Justice, for administrative

    determination. (See Exhibit A, attached).

47. Plaintiff subsequently received notice in writing from Southeast Regional

    Counsel, dated September 28, 2016, stating that there had been no decision

    on the White claim and requesting more time. (See Exhibit B, attached) but

    stating that Ms. White was free to commence litigation.

    First Amendment Violation and Witness Intimidation

48. Plaintiff’s counsel have been doing sexual misconduct cases for over 15

    years, well before the 2006 shoot-out between predatory FCI Tallahassee

    corrections officers and the FBI, which claimed two lives.

49. In the course of the preparation of this case, the Plaintiff’s counsel have been

    routinely mistreated and discriminated against by FCI officials.

50. Plaintiff’s counsel are not treated on the same basis as U.S. Attorneys.

51. Plaintiff’s counsel have been turned away from scheduled interviews with

    clients and witnesses, physically searched, and had their official mail opened

    by prison staff outside the presence of their addressee clients.

52. Plaintiff has been forced to meet with her counsel in a public place without

    any provisions for privacy while, on information and belief, counsel for the

    United States are given convenient private facilities for interviews.
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53. The warden of Tallahassee FCI has refused to respond to written grievances

    from Plaintiff’s counsel about harassment and discrimination against

    Plaintiff’s attorneys.

54. The harassment and discrimination against Plaintiff’s attorneys punishes her

    exercise of her First Amendment rights and impairs her constitutional right

    to counsel.

55. It has been the custom of United States officials, perhaps unofficial, to place

    victims and witnesses to facts relating to sexual abuse in confinement, to

    make threats against them, and often summarily transfer them.

56. It has also been the custom of the United States to force Plaintiffs to

    endlessly and painfully describe their victimization and, in this case, to

    describe her masturbation practices, though inadmissible in court.

57. These dislocations have a very powerful impact on the willingness of

    prisoner witnesses to come forward and expose misconduct since they

    threaten the stability of a prisoner’s living situation in a material way.

58. For instance, when the inmate who was ordered to clean all the surfaces in the

     office where Officer Highsmith sexually abused Plaintiff spoke out, she was

     threatened and transferred against her will after years at FCI Tallahassee.
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59. In a prior case in 2014, Plaintiff’s counsel deposed a Southeastern Region

        BOP official who said new policies had been implemented to protect sexual

        misconduct victims from retaliation.

60. More recent conduct gives lie to that representation.

61. Although FCI Tallahassee passed a Prison Rape Elimination Act (PREA)

        audit in 2015, most of the posters giving inmates phone numbers to report

        sexual abuse had only been put up days before the auditors arrived.

62. The ongoing intimidation tactics have a powerful impact on witnesses and

        send the message that they should forget what they saw and heard when

        litigation is initiated and they are called for deposition and trial.

63. These tactics have been used in the instant case and have had the foreseeable

        effect of intimidating and silencing witnesses and chilling the Plaintiff’s

        First Amendment right to redress grievances through counsel.

64. The transfers do not moot the harmful effect of the intimidation tactics and

        interference in First Amendment expression since they are an integral part of

        the intimidation tactics brought to bear on victims and witnesses.

                                    Causes of Action

   I.      Cruel and Unusual Punishment (Eighth Amendment) -- Highsmith

65. Plaintiff re-alleges the Common Allegations as if fully set forth herein.
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 66. Plaintiff White is entitled to relief against Defendant Highsmith because on

         at least three occasions he violated her Eighth Amendment rights by

         performing coercive sexual acts involving sexual penetration.

 67. Defendant Highsmith intended to cause this harmful and offensive contact

         with White in that the sexual acts were deliberate and in that Highsmith

         made clear that he had the power to make her prison life harder.

 68. The rape of Plaintiff by Defendant Highsmith was accomplished under color

         of law and caused Plaintiff to be deprived of rights, privileges or immunities

         secured by the Eighth Amendment to the U.S. Constitution.

 69. Severe and repeated sexual abuse is not part of the penalty criminal

         offenders pay for their offenses against society and constitutes a cognizable

         claim of cruel and unusual punishment under the Eighth Amendment.

 70. As a result of the rape of Plaintiff by Defendant Highsmith, Plaintiff suffered

         physical pain and trauma and invasion of her person, suffered and continues

         to suffer physical harm, emotional harm, anguish, insecurity, self-revulsion,

         damage to her self-esteem and self-worth, shame and humiliation.

   WHEREFORE, Plaintiff seeks compensatory and punitive damages and costs

against Defendant HIGHSMITH, and such other relief as justice may require.

   II.     Federal Tort Claims Act Claim (Negligence) as to the United States

 71. Plaintiff re-alleges the Common Allegations as if fully set forth herein.
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72. Plaintiff is entitled to relief against Defendant, United States of America

    because it breached its duty of care to Plaintiff, an inmate in its care and

    custody, in that it negligently operated and managed FCI Tallahassee by:

    a. Hiring, retaining and entrusting Defendant Highsmith who is, and was

        known or should have been known to Defendant to be of such poor moral

        character, temperament, and disposition as to be unfit to be hired and

        retained as a corrections officer and placed in charge of the Plaintiff.

    b. Failing to implement such policies and procedures for the operation and

        management of FCI Tallahassee as would reasonably protect Plaintiff

        and others detained or incarcerated in the corrections facility from

        Defendant Highsmith or other predatory corrections facility employees.

    c. Failing to properly supervise, investigate, and review the operation and

        management of the corrections facility and the activities and performance

        of Defendant Highsmith as an employee.

    d. Failing in the course of its investigation of the sexual abuse of other

        inmates to protect subsequent victims like White.

    e. Failing in the course of its investigation of Highsmith’s sexual abuse of

        White to protect other inmates pursued by Highsmith.
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 73. The negligence of Defendant United States of America was wrongful as a

     tort under the law of Florida and of the United States and without excuse or

     justification under any applicable state or federal statute or rule.

 74. As a result of the wrongful acts of Defendant United States of America,

     Plaintiff suffered physical trauma and invasion of her person, suffered and

     continues to suffer great emotional harm, anguish, insecurity, self-revulsion,

     damage to her self-esteem and self-worth, shame and humiliation.

   WHEREFORE, Plaintiff seeks compensatory damages and costs against

Defendant UNITED STATES OF AMERICA.

   III.   Federal Tort Claims Act (Battery) as to Defendant United States

 75. Plaintiff re-alleges the Common Allegations as if fully set forth herein.

 76. Plaintiff is entitled to relief against the United States of America because

     Defendant Highsmith sexually battered her under the color of law as a law

     enforcement officer of the United States.

 77. Defendant Highsmith performed sexual acts on Plaintiff against her will and

     without her freely-given consent and such acts were wrongful as a tort under

     the law of Florida and of the United States and without justification or

     excuse under any applicable state or federal statute or rule.
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 78. In committing the abuse, Defendant Highsmith was acting within the course

       and scope of his employment with Defendant United States of America,

       using the badges of coercive authority given him by his employers.

 79. As a result of the abuse by Defendant Highsmith, Plaintiff suffered physical

       trauma and invasion of her person, suffered and continues to suffer great

       emotional harm, anguish, insecurity, self-revulsion, damage to her self-

       esteem and self-worth, shame and humiliation.

   WHEREFORE, Plaintiff seeks compensatory damages and costs against

Defendant UNITED STATES OF AMERICA.

 IV.     Federal Tort Claims Act (First Amendment) as to the United States

 80. Plaintiff re-alleges the Common Allegations as if fully set forth herein.

 81. Plaintiff is entitled to relief against the United States of America because the

       United States has interfered with her First Amendment right to consult legal

       counsel and redress grievances through counsel.

 82. Defendant United States has sought to intimidate, interfere with, and impede

       Plaintiff’s access to her attorneys and compromised the confidentiality of her

       meetings and communications with her attorneys.

 83. As a result of these wrongful acts by the United States, Plaintiff has suffered

       a violation of her constitutional rights to free speech and redress of

       grievances through counsel.
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   WHEREFORE, Plaintiff seeks compensatory damages and costs against

Defendant UNITED STATES OF AMERICA.

   V.    Federal Tort Claims Act (Injunctive Relief) as to the United States

 84. Plaintiff re-alleges the Common Allegations as if fully set forth herein.

 85. Plaintiff is entitled to injunctive relief against the United States of America

      because the United States has interfered with her First Amendment right to

      consult legal counsel and redress grievances through counsel.

 86. Defendant United States has sought to intimidate, interfere with, and impede

      Plaintiff’s access to her attorneys and compromised the confidentiality of her

      meetings and communications with her attorneys.

 87. Defendant United States has used threats, confinement, and transfers to

      intimidate the Plaintiff and her witnesses and to discourage truthful

      testimony by witnesses to the abuses suffered by Plaintiff.

 88. As a result of these wrongful acts by the United States, Plaintiff has suffered

      and will suffer violations of her constitutional rights now and in the future,

      which violations are likely to cause irreparable injury.

 89. Plaintiff therefore seeks the following injunctive relief:

      a. A plan of training and supervision of prison staff to prevent the U.S.

         Bureau of Prisons policies, official or unofficial, of retaliating against

         Plaintiffs by threats, confinement, and transfers.
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      b. A plan of training and supervision of prison staff to prevent the U.S.

         Bureau of Prisons policies, official or unofficial, of retaliating against

         Plaintiffs’ witnesses by threats, confinement, and transfers.

      c. A plan of training and supervision of prison staff to prevent the U.S.

         Bureau of Prisons policies, official or unofficial, of delaying and

         otherwise impeding Plaintiff’s private communication with counsel.

      d. A plan of training and supervision of prison staff to prevent the U.S.

         Bureau of Prisons policies, official or unofficial, of retaliating against

         Plaintiffs by threats, confinement, and transfers.

      e. A plan of training and supervision of prison staff to prevent the U.S.

         Bureau of Prisons policies, official or unofficial, of enabling, warning,

         and covering up for sexual predators in uniform.

      f. A plan of training and supervision of prison staff to require the U.S.

         Bureau of Prisons to treat counsel for Plaintiffs on the same basis,

         affording them the same courtesies and facilities as counsel for the

         United States of America.

   WHEREFORE, Plaintiff seeks injunctive relief and costs against Defendant

UNITED STATES OF AMERICA.

                                 Prayer for Relief

WHEREFORE, the Plaintiff respectfully seeks judgment as follows:
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A. That the Court assume jurisdiction over this action;

B. Declare that the acts and omissions described herein violated Plaintiff’s

   rights under the Constitution and Laws of the United States and Florida and

   provide appropriate injunctive relief;

C. Award compensatory damages against each of the defendants herein;

D. Award punitive damages against Individual Defendant under federal law;

E. Provide a trial by jury on all issues so triable;

F. Such further relief as the Court deems just and proper.

                                       Respectfully Submitted,

                                       s/James V. Cook___________
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